                     Case 1:23-cv-03905-RCFORMDocument      7-1
                                               #45663 VERSION: E0822 Filed 01/26/24
                                                                          U.S. PostalPage 1 of 11
WALZ
CERTIFIED
            FROM
                   WALZ                                                               Service®
                                                                                                  CERTIFIED MAIL® RECEIPT
                                                                                                  Domestic Mail Only
MAILER®
                                                                                                                           USPS« ARTICLE NUMBER
                                                                                                                                           g514 =|13S Qe
        Label #1                                                                                 Certified Mail Fee
                                                                                                                                        $0.00
                                                                                                 Return Receipt (Hardcopy)

                                                                                           111
                                                                                           z     Return Receipt (Electronic)
                                                                                           -J
                                                                                                                                                       ’’ostrriark '
                        |'<>|l|-ll>u|ll||||ll|||l|||||l||l|ll||||l||l|||l|l|,||,l|ll||||   CD    Certified Mail Restricted Delivery $
                                                                                           X

                        Gina M. Raimondo, in her official capacity                         0     Postage                           $
                                                                                           Z
                        as Secretary of Commerce                                           o
                                                                                           □     Total Postage and Fees
        Label #2        1401 Constitution Ave, NW
                                                                                           EC
                        Washington, DC 20230                                               <      Sent to:       Gina M. Raimondo, in her officiafcapSqity
                                                                                           LU
                                                                                                                 as Secretary of Commerce
                                                                                           I
                                                                                                                 1401 Constitution Ave, NW
                                                                                                                 Washington, DC 20230



                                                                                                                               Reference Information
        Label #3




     FOLD AND TEAR THIS WAY------ > OPTIONAL                                                     PS Form 3800, Facsimile, July 2015

                   Label #5 (OPTIONAL)
                                                                                                 Label #7 - Certified Mail Article Number
            Case 1:23-cv-03905-RC                 Document 7-1           Filed 01/26/24          Page 2 of 11
      UNITED STATES
      POSTAL SERVICE


January 12, 2024


Dear Dara Cancel:


The following is in response to your request for proof of delivery on your item with the tracking number:
9414 7266 9904 2214 9135 08.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     January 12, 2024, 6:39 am
Location:                                               WASHINGTON, DC 20230
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic

Shipment Details

Weight:                                                 6.0oz

Recipient Signature


                  Signature of Recipient:


                   Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                      Case 1:23-cv-03905-RCFORMDocument
                                               #45663 VERSION:7-1
                                                               E0422 Filed 01/26/24
                                                                          U.S. PostalPage 3 of 11
                                                                                      Service®
NALZ
CERTIFIED
            FROM
                   WALZ                                                                                                                CERTIFIED MAIL®RECEIPT
                                                                                                                                       Domestic Mail Only
VIAILER®
                                                                                                                                                                US?SC"' ARTICLE NUMBER

                                                                                                                                                                ?2bb ‘MOM ssaa 2035
                                                                                                                                      -----------------------                                      tert-
       Label #1                                                                                                                       Certified Mail Fee                    13.38      sSHV/i,        06
                                                                                                                                                                            IQ.20
                                                                                                                                      Return Receipt (Hardcopy)        $    W.OQ
                                                                                                                                                                            ib.tid
                                                                                                                            iu
                                                                                                                            z         Return Receipt (Electronic)           to .00
                                                                                                                            -J
                        ........... . ...................................................................................                                                                        Postmark;
                                                                                                                            52
                                                                                                                                                                                 JA\
                        National Oceanic and Atmospheric Administration
                                                                                                                            x
                                                                                                                                                                                            i5i/®?Or24 I
                                                                                                                            o
                        1401 Constitution Avenue, NW                                                                        H
                                                                                                                            O
                        Room 5128                                                                                           <                         id Fees
                                                                                                                                      Total Postage and                $     \   z
       Label #2                                                                                                             X                          National Oceafffc' and AmTOpheTTc Admlnlstrat
                        Washington, DC 20230                                                                                <          Sent to:
                                                                                                                            LU
                                                                                                                            i
                                                                                                                                                       1401 Constitution AvenueLNW1, -
                                                                                                                                                       Room 5128
                                                                                                                                                       Washington, DC 20230




                                                                                                                                                                    Reference Information
       Label #3




    FOLD AND TEAR THIS WAY------ ► OPTIONAL                                                                                           PS Form 3800, Facsimile, July 2015
                                                                                                                                 1'
                   Label #5 (OPTIONAL)
                                                                                                                                  Label #7 - Certified Mail Article Number



                                                                                                                                (
            Case 1:23-cv-03905-RC                 Document 7-1           Filed 01/26/24          Page 4 of 11
     UNITED STATES
     POSTAL SERVICE


January 12, 2024


Dear Dara Cancel:


The following is in response to your request for proof of delivery on your item with the tracking number:
9414 7266 9904 2202 2039 63.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date 1 Time:                                     January 12, 2024, 6:39 am
Location:                                               WASHINGTON, DC 20230
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic

Shipment Details

Weight:                                                 5.0oz

Recipient Signature




Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                    Case 1:23-cv-03905-RC Document 7-1 FiledU.S.
                                                             01/26/24
                                                                 PostalPage 5 of 11
lA/ALZ
CERTIFIED
             FROM   WALZ                                                Service®
                                                               FORM #45663 VERSION: E0422

                                                            CERTIFIED MAIL®RECEIPT
                                                                                              Domestic Mail Only
MAILER3
                                                                                                                       USPS® ARTICLE NUMBER
                                                                                                        '5414 TEhV IIOM 2ED2 ED3T St

         Label #1                                                                            Certified Mail Fee                $    I0.0Q      AJkSHV/q"
                                                                                                                                    52^2fi
                                                                                             Return Receipt (Hardcopy)         $    fi/. oo.
                                                                                                                                    io. ou
                                                                                             Return Receipt (Electronic)       $    ff-0w00
                         llirilliii'iiiii,i,iil,ll,i,lllllilliil,,i,,,llll,lll,lilh,ll,i     Certified Mail RestrictQd-Oelivery $1 JA 0 5 Postmark
                                                                                                                                           -Here   f
                        National Marine Fisheries Service
                                                                                             Posjase                           $ \ \
                         1315 East-West Highway

         Label #2
                         Silver Spring, MD 20910                                             Total Postage and Fees     $
                                                                                              Sent to: National Manne Fisheries'Service
                                                                                                             1315 East-West Highway '
                                                                                                             Silver Spring, MD 20910




                                                                                                                           Reference Information
         Label #3




      FOLD AND TEAR THIS WAY------ ► OPTIONAL
                                                                                            I' PS Form 3800, Facsimile, July 2015
                    Label #5 (OPTIONAL)
                                                                                             Label #7 - Certified Mail Article Number


 0)
 X2
1/26/24, 11:39 AM   Case 1:23-cv-03905-RC                Document  7-1 - USPS
                                                              USPS.com®   Filed  01/26/24
                                                                              Tracking® Results Page 6 of 11


         ALERT: SEVERE WEATHER CONDITIONS ACROSS THE U.S. MAY DELAY FINAL DELIVERY OF Y...


                                                                                                                          FAQs >
   USPS Tracking®



                                                                                                                   Remove X
   Tracking Number:

   9414726699042202203956
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/ )




          Latest Update
          Your package will arrive later than expected, but is still on its way. It is currently in transit to the next
          facility.



          Get More Out of USPS Tracking:
               USPS Tracking Plus®

          Delivered


          Out for Delivery




                                                                                                                               Feedback
          Preparing for Delivery



          Moving Through Network
    •     In Transit to Next Facility, Arriving Late
          January 12, 2024


    *'    Arrived at USPS Regional Destination Facility
          GAITHERSBURG MD DISTRIBUTION CENTER
          January 8, 2024, 10:00 am


    •     See All Tracking History



     What Do USPS Tracking Statuses Mean? (https://faq.usps.eom/s/article/Where-is-my-package)



         Text & Email Updates

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1 =9414726699042202203956                                                         1/2
1/26/24, 11:39 AM   Case 1:23-cv-03905-RC                Document 7-1 USPS
                                                              USPS.com®- Filed  01/26/24
                                                                             Tracking® Results Page 7 of 11



       Return Receipt Electronic


       USPS Tracking Plus®


       Product Information


                                                                See Less

   Track Another Package


     Enter tracking or barcode numbers




                                                     Need More Help?
                                   Contact USPS Tracking support for further assistance.


                                                                     FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1 =9414726699042202203956                             2/2
                      Case 1:23-cv-03905-RCFORMDocument
                                               #45663 VERSION:7-1
                                                               E0422 Filed 01/26/24
                                                                          U.S. PostalPage 8 of 11
                                                                                      Service®
WALZ        FROM
CERTIFIED
                                                                                               CERTIFIED MAIL®RECEIPT
                                                                                               Domestic Mail Only
MAILER®



       Label #1




                        'l>|l>l|||l-l>||ll'-||l|>|lllln|<|||l||||l|>||l..|||.|l||.l.||||
                        Menick B. Garland, U.S. Attorney General
                       U.S. Department of Justice
                        950 Pennsylvania Avenue, NW
       Label #2
                        Washington, DC 20530-0001




       Labe! #3




    FOLD AND TEAR THIS WAY------ ► OPTIONAL                                                PS Form 3800, Facsimile, July 2015

                   Label #5 (OPTIONAL)
                                                                                           Label #7 - Certified Mail Article Number


                                                                                           (
            Case 1:23-cv-03905-RC                 Document 7-1           Filed 01/26/24          Page 9 of 11
      UNITED STATES
      POSTAL SERVICE


January 17, 2024


Dear Dara Cancel:


The following is in response to your request for proof of delivery on your item with the tracking number:
9414 7266 9904 2202 2039 32.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     January 17, 2024, 4:48 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic

Shipment Details



Recipient Signature


                  Signature of Recipient:


                   Address of

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                    Case*1:23-cv-03905-RC
                   l*f    ■                  Document
                                          FORM #45663 VERSIC 7-1                           Filed U.S.
                                                                                                 01/26/24  Page
                                                                                                      Postal    10 of 11
                                                                                                             Service®
WALZ        FROM          M ..
CERTIFIED
                                                                                                CERTIFIED MAIL® RECEIPT
                                                                                                Domestic Mail Only
MAILER*                ll'-'|-|-l>l||-|<|l||||<|<l|l|||ll|||.|l|l||.l.||l|||||.llll|.l|l
                       Matthew M. Graves                                                                                 USPS5 ARTICLE NUMBER

                       U.S. Attorney for the District of Columbia                                           THm ?2bb                    EEDE 2035 45
       Label #1                 ^rocess Clerk
                                                                                               Certified Mail Fee
                       U.S. Attorney's Office for D.C.
                       601D Street, NW                                                         Return Receipt (Hardcopy)
                       Washington, DC 20530
                                                                                               Return Receipt (Electronic)

                                                                                               Certified Mail Reslrict^dfleliyery $

                                                                                               Postage

                                                                                               Total Postage and Fees
       Label #2
                                                                                                Sent to: Matthew M. Graves
                                                                                                               U.S. Attorney for the District of Columbia
                                                                                                               c/o Civil Process Clerk
                                                                                                               U.S. Attorney's Office for D.C.
                                                                                                               601D Street, NW
                                                                                                               Washington, DC 20530

                                                                                                                             Reference Information
       Label #3




    FOLD AND TEAR THIS WAY------ ► OPTIONAL
                                                                                              !■ PS Form 3800, Facsimile, July 2015
                   Label #5 (OPTIONAL)
                                                                                               Label #7 - Certified Mail Article Number
            Case 1:23-cv-03905-RC                Document 7-1            Filed 01/26/24         Page 11 of 11
      UNITED STATES
      POSTAL SERVICE


January 17, 2024


Dear Dara Cancel:


The following is in response to your request for proof of delivery on your item with the tracking number:
9414 7266 9904 2202 2039 49.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     January 17, 2024, 4:48 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic

Shipment Details



Recipient Signature


                  Signature of Recipient:


                   Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
